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IN THE UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF GEORGIA
GAINESVILLE DIVISION

MARIA SIMMONS,

Plaintiff, CIVIL ACTION NO..:

V.
2:23-cv-00015-SCJ-JCF
WAL-MART ASSOCIATES, INC. ,

Defendant. JURY TRIAL DEMANDED

THIRD AMENDED COMPLAINT

COMES NOW Plaintiff, Maria Simmons, (“Plaintiff”), by and through
counsel, signed below and files this Third Amended Complaint, against her former
employer Wal-Mart Associates, Inc. (Defendant”), by instruction of this Court, on
its ORDER dated January 29, 2024, in which the statute of limitations was tolled,

alleging as follows:

NATURE OF THIS ACTION

1,
This action is brought under the Fair Labor Standards Act of 1938

(“FLSA”), as amended, 29 U.S.C. §201 et seg., in which Plaintiff seeks

compensatory, liquidated damages and attorney’s fees, against Defendant for its
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failure to pay federally-mandated overtime wages during Plaintiff’s employment
with Defendant.
2.

Plaintiff worked for Defendant in a “manager” position, during the relevant
time period (“relevant period” or “relevant time period” is defined as the period
between August of 2019 to August 25, 2022) but because she was misclassified as
exempt, she was denied her clearly established rights under applicable federal
statutes.

3.

Defendant paid no overtime premium wages whatsoever to Plaintiff despite
Plaintiff working a significant amount of hours over 40 hours during many
workweeks.

4,

As a result of the practices of Defendant described herein, Defendant failed

to adequately and lawfully compensate Plaintiff as required by the FLSA.

JURISDICTION, VENUE AND PARTIES

5.
Jurisdiction, over this action, is conferred, in this Court, by § 216(b) of

FLSA, 20 U.S.C. § 216(b) as well as 28 U.S.C. § 1331.
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6.
Plaintiff resides in Fayette County, Georgia and submits herself to the
jurisdiction of this Court.
7
The unlawful employment practices were committed within the state of
Georgia. Defendant maintains its registered agent in Forsyth County, Georgia
which is located in this district and division. Therefore, venue is proper in this
district and division pursuant to 28 U.S.C. § 1391(b) & (d).
8.
Maria Simmons, the Plaintiff in this action, is an ex-employee of Defendant.
9.
Plaintiff worked for Defendant for approximately 19 years. She was hired
on or about April 21, 2003 and terminated via a Zoom call on or about August 25,
2022. Her tenure includes the time period between August 2019 through August
25, 2022 which is the Relevant Time Period for this action. Her rate of pay was

$41.82/hour plus bonuses and benefits.

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The title assigned Plaintiff by Defendant was Transportation Operations

Manager during the relevant period for this action.
11.

Plaintiff worked in excess of 40 hours most workweeks but was not paid

overtime pay. Some examples of this are below.
12.

As an example, Plaintiff worked 66 hours without overtime compensation
during the work week of January 25, 2021 to January 29, 2021, and February 21,
2022 to February 25, 2022, Plaintiff worked 60 hours in a single workweek,
without receiving overtime compensation.

13.

As aresult of Defendant’s intentional misclassification, Plaintiff was never
paid overtime premiums and because Defendant misclassified Plaintiff knowingly
and intentionally, as discussed below during the relevant period of this action.

14.
Plaintiff is owed full overtime premium wages for all hours in excess of

forty (40) in each workweek.
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15.

Defendant is a foreign, for-profit corporation who is registered with the
Georgia Secretary of State to do business in the state of Georgia, operating in
many counties of Georgia and in all of Georgia’s Federal Districts and Divisions.

16.

Defendant has been served with the summons and complaint to its
registered agent on record with the Secretary of State. The Corporation Company,
106 Colony Park Drive, Suite 800-B, Cumming, Georgia 30040-2794. Therefore,
this Court has personal jurisdiction over Defendant.

17.

Defendant has substantial ties to the state of Georgia and the Northern
District of Georgia given that it operates a business located in Georgia and
maintains and maintained offices at all relevant times hereto, conducting regular,
not isolated acts of business in Georgia and in the Northern District of Georgia.

18.

Defendant was and is, at all times relevant to this action, an “employer”
within the meaning of FLSA, 29 U.S.C. § 204(d), an “enterprise” within the
meaning of FLSA, 29 U.S.C. § 204(r), and “engaged in commerce” within the

meaning of FLSA, 29 U.S.C. §§ 203(s)(1), 206, and 207.
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19.

At all relevant times, Defendant has been and remains an “employer” within
the meaning of FLSA, 29 U.S.C. § 203(d) in that it acted “...directly or indirectly
in the interest of an employer in relation to an employee...” towards the above
Plaintiff.

20.

As an employer who engages in commerce, Defendant is subject to the

requirements of FLSA, 29 U.S.C. § 201 et seq.
21.

At all relevant times, Defendant has owned and operated retail stores and
distribution centers in multiple states, including Georgia and in multiple counties
located in Georgia, with two or more employees handling, selling or otherwise
working on goods and material that have been moved in or “produced for
commerce by any person” within the meaning of 29 U.S.C. § 203(s)(1)(A).

22.
During the relevant time period, the annual gross revenues of Defendant

exceeded $500,000.00 per annum.
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23.

Defendant was at all relevant times engaged in commerce as defined in 29
U.S.C. § 203(r) and § 203(s).

24.

Defendant constitutes an “enterprise” within the meaning of 29 U.S.C. §
203(r)(1), because it performed related activities through common control for a
common purpose.

25.

At relevant times, the enterprise engaged in commerce within the meaning
of 29 U.S.C. § 206(a) and § 207(a).

26.

At all times material herein, Plaintiff has been entitled to the rights,
protection and benefits provided under § 201, et seq.

27.

As a longtime national (and international) employer, Defendant was at all
relevant times aware of the existence and requirements to pay employees agreed
upon wages and to pay the employees who work longer than forty (40) hours in a
single workweek, one and one half times the employee’s regular rate of pay for all

hours worked within the workweek in excess of forty (40) hours.
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28.

All actions by Defendant were willful and not the result of mistake or
inadvertence. Because Plaintiff used an electronic device to enter the building at
the beginning of each of her shifts, Defendant should be aware of the days in
which Plaintiff came into work and cameras in use at the facility show the length
of her shifts.

29.

Defendant knew or should have known that the FLSA applied to the
operation of business at all relevant times. Defendant knew of or should have
been aware of previous litigation relating to wage and hour violations where the
misclassification of its “managers” on the level of Plaintiff, under the FLSA was
challenged and because Defendant has employed thousands of employees for
many years.

30.

Despite being on notice of its violations, Defendant chose to continue to

misclassify Plaintiffs and withhold overtime wages to Plaintiff in an effort to

enhance Defendant’s profits.
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31.

Defendant knew that managers such as Plaintiff were employees that should
be paid under the law and had simply chosen not to pay Plaintiff in accordance
with the law.

FACTS
32.

Plaintiff is a former, long-time employee of Defendant within the meaning
of 29 U.S.C. §203(e)(1) as she was hired on or about April 21, 2003 and
terminated via a Zoom call on or about August 25, 2022.

33.

During her tenure with Defendant, Plaintiff worked a significant amount of
hours in excess of forty (40) in many work weeks and Defendant failed to pay
Plaintiff premium overtime pay. Specific examples of this are given within this
Complaint.

34,

Plaintiff did work in excess of forty (40) hours in a single workweek on
many occasions. Plaintiff was considered an essential worker during Covid and
was required to pick up extra time to cover for the needs of Defendant. As an

example of this, during the work week of November 21, 2021 to November 27,
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2021, Plaintiff worked 66 hours for which Plaintiff was not paid overtime wages.
And during the week of August 15, 2021 to August 18, 2021, Plaintiff worked 53
hours in a single workweek for which Plaintiff was not paid overtime wages.

35,

Throughout her tenure, as an employee with Defendant, Plaintiff held the
title of “manager” the primary duties of which did not fall under any exemption of
the FLSA, as discussed below.

36.

Defendant utilizes a centralized structure of management and employees,

including managers, work within the prescribed structure.
37.

Because of Defendant’s centralized structure of management, throughout
her employment with Defendant, Plaintiff never directed the work of any of
Defendant’s full-time employees.

38.
Because of Defendant’s centralized structure of management, Plaintiff never

possessed the authority to hire and fire any of Defendant’s other employees.

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39.

Because of Defendant’s centralized structure of management, Plaintiff never
exercised discretion or independent judgment with respect to matters of
significance to Defendant.

40.

Plaintiff did not meet the definition of learned professional. She did not
perform computer work and she did not perform outside sales for Defendant as
defined by FLSA.

41.

Plaintiff did often perform manual tasks including cleaning trash out of pick
module locations in multiple locations within the facility and on all four levels,
and cleaning out damages from the damage department as well as other manual
tasks required to get the job done.

42.

At all times relevant to this action, Plaintiff was non-exempt from the

overtime pay requirements as afforded by FLSA, 20 U.S.C. § 201, et seg. but she

was not compensated for the overtime hours that she worked.

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43.

According to information and belief, Defendant paid Plaintiff by direct
deposit.

44.

While employed, Plaintiff’s work schedule and duties were controlled by
Defendant.

4S.

Defendant failed to pay Plaintiff one and one-half times her regular rate of
pay for the hours worked in excess of forty (40) in any workweek. And when
Plaintiff asked about receiving compensation for the overtime hours that she was
working, she was told, “You are a manager. You are always on the clock.”
However, no additional compensation was ever paid.

46,

Defendant’s unlawful acts, omissions, and practices concerning the terms,

conditions, and provisions of Plaintiff’s employment violate FLSA.
47.
As a result of Defendant’s unlawful acts, omissions, and practices, Plaintiff

suffered a loss of wages.

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48.

Defendant’s willful violation of the FLSA shows reckless disregard for
Plaintiff's right to receive appropriate overtime compensation for her work with
Defendant.

49.

Defendant owes Plaintiff pay for work performed but not compensated in an
amount to be determined at trial, plus liquidated damages in an equal amount,
pursuant to 29 U.S.C. §216(b).

50.

Pursuant to Section 216(b) of FLSA, Defendant owes Plaintiff for costs and

reasonable attorney’s fees.

VIOLATION OF THE FAIR LABOR STANDARDS ACT (FLSA)

51.
Plaintiff re-alleges and incorporates by reference each of the foregoing
paragraphs of this Complaint as if set forth fully in this count.
52.
Upon hire, Plaintiff and Defendant arrived at a rate of pay and intervals

upon which payment was to be made by Defendant to Plaintiff.

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53.

Plaintiff was an employee covered by the provisions prescribed by the
FLSA but Defendant intentionally misclassified Plaintiff as exempt from the
provisions set out by the FLSA.

54.

Pursuant to 29 U.S.C. §213, Defendant was not exempted from paying any
of Plaintiff’s overtime wages which were due because Plaintiff was not
legitimately classified as exempt.

55.

Defendant was at all relevant times, subject to the provisions of the FLSA
and required, in accordance with FLSA, to pay one and one half times Plaintiff’s
regular rate of pay for hours worked that were over forty (40) hours in each
workweek.

56.
Defendant intentionally failed to pay Plaintiff one and one half times her

regular rate of pay for each hour worked over forty (40) hours in a workweek.

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57:

Given that Defendant has been in business for many years, employing
thousands of employees nationally, Defendant’s conduct and practices, as
described above were willful, intentional, unreasonable, arbitrary, and in bad faith.

58.

During each week that Plaintiff worked more than forty (40) hours per

workweek, she is owed the overtime premium that she has never been paid.
59.

Defendant’s unlawful acts, omissions, and practices concerning the terms,

conditions, and provisions of Plaintiff's employment violate the FLSA.
60.

As aresult of Defendant’s unlawful acts, omissions, and practices, Plaintiff

suffered a loss of wages, incurred damages, and significant financial loss.
61.

Defendant’s willful violation of the FLSA shows reckless disregard of the

rights of Plaintiff to receive appropriate overtime compensation for her work with

Defendant.

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62.

By reason of its unlawful acts alleged herein, Defendant owes and is liable
to Plaintiff pay for monetary damages in an amount to be determined, plus
liquidated damages in an equal amount pursuant to 29 U.S.C. §216(b).

63.

Pursuant to Section 216(b) of the FLSA, Defendant owes Plaintiff for costs
and reasonable attorney’s fees as provided by the FLSA for all violations which
occurred at least three (3) years preceding the filing of Plaintiff’s initial complaint.

64.

Alternatively, should the Court find that Defendant acted in good faith in
failing to pay Plaintiff as provided by the FLSA, Plaintiff is entitled to an award of
prejudgment interest at the applicable legal rate.

Prayer for Relief

WHEREFORE, Plaintiff respectfully prays that Defendant be summoned to
appear and answer herein, for orders as follows:
a. Take jurisdiction of this matter;
b. Grant trial by jury as to all matters properly triable to a jury;

C. Issue an Order holding Defendant to be an “employer” as that term is

defined by the FLSA;
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Issue judgment declaring that Plaintiff is an employee covered by the

FLSA, and that Defendant has failed to comply with its obligations under
the FLSA;

Issue an Order finding that Defendant’s acts, policies, practices and
procedures complained of herein violated Plaintiff’s rights as secured by the
Fair Labor Standards Act of 1938, as amended;

Award judgment in favor of Plaintiff, against Defendant for unpaid overtime
compensation together with liquidated damages in a equal amount;

Award Plaintiff prejudgment interest from Defendant on all amounts owed
to the extent that liquidated damages are not awarded;

Award nominal damages if found to be appropriate;

Pursuant to Section 216(b) of the FLSA, judgment in favor of Plaintiff
against Defendant;

Judgment in favor of Plaintiff, against Defendant for reasonable attorney’s
fees;

Judgment in favor of Plaintiff against Defendant for all taxable and

nontaxable costs;

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1. Pursuant to the Seventh Amendment of te United States Constitution and
Rule 38, Fed. R. Civ. P., TRIAL BY JURY on all claims, for Plaintiff in
which a jury is available; and

m. Award such other, further and different relief as this Court deems

appropriate and proper including reinstatement for Plaintiff and against

Defendant.

Respectfully submitted, this 1st day of March 2024.

s/Beverly A. Lucas

Beverly A. Lucas

Georgia Bar No.: 427692
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Attorney for Plaintiff

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IN THE UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF GEORGIA
GAINESVILLE DIVISION

MARIA SIMMONS,

Plaintiff, CIVIL ACTION NO.:

V.
2:23-cv-00015-SCJ-JCF
WAL-MART ASSOCIATES, INC. ,

Defendant. JURY TRIAL DEMANDED

CERTIFICATION OF FONT COMPLIANCE
REQUIRED BY LOCAL RULE 7.1D AND SERVICE

In accordance with Local Rule 7.1D, I hereby certify that the foregoing was
prepared with one of the font and point selections approved by the Court in Local
Rule 5.1B. Specifically, it was prepared with Times New Roman, 14 point.

I further certify that I electronically filed the foregoing PLAINTIFF’S
THIRD AMENDED COMPLAINT with the Clerk of Court using the CM/ECF
system which will automatically send email or other notification of such filing to
the following attorney of record:

Sarah M. Phaff and Alyssa Peters
This 1st day of March 2024.

/s/ Beverly A. Lucas

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Beverly A. Lucas
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